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DANIEL S. SIMON, ESQ.

Nevada Bar #004750

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Las Vegas, Nevada 89101
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Ambrish S. Sidhu Esq.

Nevada Bar No. 7516

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810 S. Casino Center Blvd., Suite 104
Las Vegas, NV 89101

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E-Mail: ssidhu@sidhulawfirm.com
Attorneys for Plaintiffs

UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF NEVADA
In re: )
) Case No.: BK-11 -28575-mkn
RYAN MITCHELL, ) Chapter 7
)
Debtor. )
)
ALEC BUNTING by and through his ) Adversary Case No. 12-01050-MKN
guardian ad litem, STELLA RAVELLA, and )
STELLA RAVELLA, individually; ) AMENDED COMPLAINT OBJECTING TO
) DISCHARGEABILITY OF
Plaintiffs, ) INDEBTEDNESS
) (1 U.S.C. § 523)
vs. )
) Date:
RYAN MITCHELL, ) Time:
) Place: Courtroom 2
Defendant. )
)

 

Plaintiffs, STELLA RAVELLA, individually and as guardian ad litem for ALEC BUNTING,
a minor child,("Plaintiff), by and though their attorney DANIEL S. SIMON, ESQ., and the SIDHU
LAW FIRM, LLC, hereby file their Amended Complaint Objecting to the Dischargeability of Debt
("Amended Complaint") against Defendant RYAN MITCHELL ("Defendant") and allege and

complain as follows:

 
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1. PARTIES. JURISDICTION AND VENUE

l. Plaintiffs are individuals residing in Clark County, in the State of Nevada.

2. Plaintiffs are creditors in Defendant's Chapter 7 bankruptcy case pending before this
Court, and otherwise are entitled to bring this action.

3. Defendant is an individual residing at 3370 St. Rose Pkwy., #638, Henderson, NV
89052.

4. On November 30, 2011, Defendant filed his voluntary Chapter 7 bankruptcy petition
(the "Petition Date").

5. This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §
1334 and Fed. R. Bankr. P. 7001(6).

6. This adversary proceeding is a "core proceeding" as that term is defined in 28 U.S.C. §
I 57(b)(2)(1) and (0), and arises in and is related to the Chapter 7 bankruptcy case of Defendant
currently pending in this District.

7. Venue for this adversary proceeding is proper in this District pursuant to 28 U.S.C. §
1409(a) as Defendant filed a petition for relief in this Court.

8. This adversary proceeding is timely filed pursuant to Fed. R. Bankr. P.4007 because it
was initially filed within sixty (60) days of the date first set for Defendant's first meeting of creditors
pursuant to 11 U.S.C. § 341(a).

Il. GENERAL ALLEGATIONS

10. Plaintiffs repeat and reallege all preceding paragraphs as though they were fully set
forth at length herein.

11. On or about July 9, 2009, Plaintiffs filed a complaint against Defendant in that certain
case style ALEC BUNTING by and though his guardian ad litem, STELLA RAVELLA, and
STELLA RAVELLA, individually v. RYAN MITCHELL, D.O., et al., Case No. A594903, District
Court, Clark County, Nevada ("State Court Litigation").

12. The complaint in the State Court Litigation set forth causes of action for medical

negligence, intention infliction of emotional distress, negligent infliction of emotional distress, breach

 
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of contract, breach of implied covenant of good faith and fair dealing and fiduciary duty, fraud and
misrepresentation and is seeking special, general and punitive damages arising from their doctor
patient relationship involving surgical removal of tonsils of Plaintiff Alec Bunting a seven (7) year
old minor. Specifically, Alec Bunting presented to Defendant Ryan Mitchell, D.O., on or about July
5, 2008, for an evaluation and was then scheduled for surgery on July 24, 2008 at Seven Hills Surgery
Center to undergo a tonsillectomy procedure. On July 24, 2008 defendant Ryan Mitchell, D.O.
injected a substantial amount of Marcaine intravenously in Plaintiff's oropharynx during the
tonsillectomy procedure. Dr. Mitchell's injection of Marcaine into the veins in Plaintiff's oropharynx
resulted in a permanent AV heart block. Immediately after the procedure Plaintiff, Alec Bunting, was
placed on an EKG and his heart condition was noted. During the traumatic event at Seven Hills
Surgery Center, Plaintiff, Alec Bunting, was forced to be transferred via ambulance to St. Rose
Dominican Hospital. Plaintiff, Stella Ravella, mother of Alec Bunting, was outside the operating
room and personally observed the traumatic events occurring. Ms. Ravella observed and appreciated
the traumatic nature of the emergency, including the transfer of her son, Alec Bunting, from Seven
Hills Surgery Center by ambulance to St. Rose Hospital. Alec Bunting was ultimately treated at the
Children's Heart Center at Sunrise Hospital and eventually had a pace maker implanted for treatment
of his heart condition. A few years later in June, 2010, Alec Bunting had to have another pacemaker
implanted with resulting complications. Alec Bunting will require replacement of a pacemaker every
2-5 years for the remainder of his life and may experience an untimely death due to his traumatic
heart condition.

13. Mark Mills, M.D., an expert in substance abuse opines that Dr. Mitchell was not fit
to practice medicine safely and should not have been practicing at the time of the Bunting
procedure. In fact, Dr. Mills opined that the effects of his drug addiction actually were present
during the procedure on July 24, 2008. Dr. Mills notes the importance of the drug treatment records
when he has relied on and comments in his report regarding the treatment records from Dr.

Mitchell’s treating physician. Dr. Levy, which confirms that the drug problem was interfering with

 
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his ability to practice medicine when 1) not showing up for surgery 2) a differential diagnosis of
ADD 3) excessive drinking 4) abusive to his family 5) stealing medication from his patients and
injecting ketamine in his arm up to 1,000 times. His opinion is very clear that Mitchell was at the
top of his drug addiction problems which affected his ability to practice medicine safely and in fact
compromised his abilities at the time of the subject procedure. Particularly, Dr. Mills states in his
report “... Given the timing of the injury claimed by the plaintiff and the various incidents described
by the Henderson Police Department and Dr. Mitchell’s admitted decade-long history of abuse, it is
reasonable to conclude that in or around the time of the surgery on the plaintiff, Alec Bunting, Dr.
Mitchell was chronically impaired, even if he had not been intoxicated at the actual time. Further,
the documents suggest that his latter state of actual intoxication could have been the operative one
at the time of the surgery he performed on the plaintiff. Report of Dr. Mills and CV attached as
Exhibit “1.” At all times of the professional relationship, Mitchell never disclosed that he was a
drug addict. He represented he was competent to perform the procedure as a member of the medical
profession in good standing. Mitchell knew he had a drug problem and intentionally concealed this
information to the Plaintiffs. His drug problem consisted of a 10-year history of stealing
medications from patients and injecting himself up to 1000 times. He has several arrests shortly
after the subject procedure when hallucinating in his backyard naked and also passing out in his car
during rush hour. He also intentionally misrepresented his position at the group Nevada Eye and
Ear. He was an unsupervised independent contractor, but held himself out as a member of the group
when he was not part of the group.

14. Mitchell acted in malicious manner when treating Bunting. His wrongful act of being
chronically impaired while performing surgery on children was an intentional act and a conscious
decision causing injury and done without Just cause or excuse. This conduct is utterly intolerable in a

civilized society and was also done in a conscious and deliberate disregard for the rights and safety of

 
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Bunting. Mitchell was aware of the probable dangerous consequences of his conduct and wilfully and
deliberately failed to avoid those consequences proximately causing injury to the Plaintiff's.
III. CAUSE OF ACTION
(EXCEPTION TO DISCHARGE PURSUANT TO II U.S.C. § 523(A)(6))

15. Plaintiffs repeat and reallege all preceding paragraphs as though they were fully set
forth at length herein.

16. The claims in the State Court Litigation were based upon the conduct committed by
Defendant arising from the doctor patient relationship.

17. Unbeknownst to the Plaintiff, Dr. Mitchell was a drug addict at the height of his
addiction which interfered with his ability to practice medicine.

18. That at all times relevant hereto, Defendant, Ryan Mitchell, D.O., was, and now is, a
practicing doctor holding himself out to the general public as duly licensed to practice his profession
under and by virtue of the laws of the State of Nevada, including, but not limited to, Chapter 630 or
633 of the Nevada Revised Statutes, and was and is a resident of the County of Clark, State of
Nevada.

19. Plaintiff Alec Bunting a seven (7) year old minor, was diagnosed with tonsillitis.

20. He presented to Defendant Ryan Mitchell, D.O., on or about July 5, 2008, for an
evaluation and was then scheduled for surgery on July 24, 2008 at Seven Hills Surgery Center to
undergo a tonsillectomy procedure.

21. On July 24, 2008 defendant Ryan Mitchell, D.O. injected a substantial amount of
Marcaine into a blood vessel in Plaintiffs oropharynx during the tonsillectomy procedure.

22. Dr. Mitchell's injection of Marcaine into the veins in Plaintiffs oropharynx resulted in
an AV heart block.

23. Plaintiff, Alec Bunting, needed emergency treatment and was forced to be transferred

via ambulance to St. Rose Dominican Hospital.

 
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24. Plaintiff, Stella Ravella, mother of Alec Bunting, was outside the operating room and
personally observed the traumatic event occurring and later observed many people bedside treating
the emergency.

25. Alec Bunting was treated at the Children's Heart Center at Sunrise Hospital and
eventually had a pace maker implanted for treatment of his heart condition as well as subsequent
treatment and pacemaker surgeries.

26. That conduct of Defendant, Ryan Mitchell, D.O., was intentional when Ryan Mitchell
D.O. chose to inject Alec Bunting with the Marcaine and when Ryan Mitchell D.O. injected Marcaine
into an incorrect area of the throat.

27. That as a direct and proximate result of the intentional conduct of Defendant, Ryan
Mitchell, DO., Plaintiffs, Alec Bunting and Stella Ravella, were exposed to an unreasonable risk of
harm, and as a direct and proximate result of Defendant’s conduct and/or failure to act, Alec Bunting
and Stella Ravella incurred substantial medical expenses and will incur substantial medical expenses
in the future, and have experienced and will continue to experience, great pain, suffering, anxiety,
loss of enjoyment of life and now, Plaintiff, Alec Bunting has a permanent heart condition, and all
Plaintiffs have severe emotional distress, and will be permanently and partially disabled for the
remainder of their natural lives.

28. Mitchell acted in malicious manner when treating Bunting. His wrongful act of being
chronically impaired while performing surgery on children was an intentional act and a conscious
decision causing injury and done without just cause or excuse. This conduct is utterly intolerable in a
civilized society and was also done in a conscious and deliberate disregard for the rights and safety of
Bunting. Mitchell was aware of the probable dangerous consequences of his conduct and wilfully and
deliberately failed to avoid those consequences proximately causing injury to the Plaintiff's.

29. It has been necessary for the Plaintiffs herein to retain the services of an attorney to
prosecute this action and Plaintiffs are entitled to reasonable attorney’s fees, interest and costs.

VIII. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court grant the following relief:

 
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l. An order determining that Defendant’s debt be liquidated in an amount determined by
the cowl, plus accrued interest at the statutory rate, is non-dischargeable under 11 U.S.C. § 523(a)(6);
2. Alternatively, that the debt be non-dischargeable and ordered to be fully liquidated in

State Court in the State Court Litigation;

3. An order awarding Plaintiffs their attorneys’ fees, interest and costs of suit incurred
herein; and
4. For such other and further relief as the Court may deem just and equitable.

Dated this 28th day of June, 2012.

Ambrish S. Sidhu, Esq., Bar No. 7516
SIDHU LAW FIRM, LLC
810 S. Casino Center Blvd., Suite 104
Las Vegas, Nevada 89101

and

DANIEL S. SIMON

a ay

DANIELS. S{MON, ESQ., Bar No. 4750
810 South Casino Center Boulevard

Las Vegas, Nevada 89101

Attorneys for Plaintiffs

 
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Case 11-28575-mkn

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EXHIBIT 1
Case 11-28575-mkn Doc 28 _ Entered 06/29/12 09:10:40 Page 9 of 36

Mark J. Mitts, JD, MD

4658 Charleston Terrace, NW
Washington, District of Columbia 20007
Phone (202) 333-3533
mjmills@forensicsciences.com

October 31, 201]
Via Electronic Mail

Danict $. Simon, I:sq.

Law Offices of Daniel S. Simon
810 South Casino Center Blvd.
Las Vegus, Nevada 89101

Re: Psychiatric Report concerning Ryan Mitchell, D.O.
Dear Mr. Simon:

You asked that consider the mental state of the above-captioned defendant, Ryan Mitchell,
D.O. Since | have not had the Opportunity to evaluate him, you forwarded to me various
records and other material for my consideration, including: the deposition transcript of
Scott I:. Manthei, D.O.; the deposition transcript of the defendant; public records for Dr.
Mitchell from the State Board of Osteopathic Medicine (including the settlement agree-
ment and his public reprimand); police records from Henderson, NV, concerning an inci-
dent of October 26, 2008; similarly located records for an incident of January 29,2009; the
Ilenderson Police incident reports for the latter two incidents; the Henderson Police foren-
sic laboratory, report of examination; the medical records from Michael S. Levy, D.O.; and
finally four (4) compact discs containing audio recordings of an emergency calls from Dr.
Mitchell’s wife, Melody, and from a “drunk” driving incident and two sets of photographs,
one of Melody and one of Dr. Mitchell's pills and “medications.”

Al the outset, as in the rest of medicine, evaluations based upon an actual interview are
more certain and more complete than those made without such examination; however, in
this matter, the documentary evidence is unusually convincing and allows me to draw cer-
tain conclusions.

First, it is evident that Dr. Mitchell had a serious drug dependency issue and that for him
his drug of choice was ketamine, the hallucinogenic anesthetic that is mostly used in veter-
inary medicine. The records you provided that Dr. Mitchell indicated he had injected him-
self about one thousand time over a ten-year period, or about every third day for the entire
ten years. Further, as is widely appreciated by those who treat substance abusers, even
with the best of intentions, such abusers tend to significantly underestimate the amount of
their actual usage. Thus, every third day of abuse may have been more like every day or
every other day, in reality. As the audio CDs indicate, the toll on his mental state and its
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Mark J. Mitts, JD, MD

Daniel S. Simon, Esq.
Re: Ryan Mitchell, D.O.
October 31, 2081

Page 2 of 2

cllects on others was (and presumably still is) considerable, In lay parlance, Dr. Mitchell
was drug. abusing and drug-addicted.

The documentary evidence suggests (most apparent in the records from Dr. Levy) that,
notwithstanding Dr. Mitchell’s sworn deposition testimony to the contrary, he used keta-
mine during the time of his practice and was periodically absent during scheduled office
hours and or procedures. While 1 was not there to assess him during such times, his ab-
Sences create a strong presumption that he was periodically impaired while practicing.

Given the timing of the injury claimed by the plaintiff and the various incidents described
by the Henderson Police Department and Dr. Mitchell's udmittcd decade-long history of
abuse, it is reasonable to conclude that in and around the time of the surgery on the plain
till, Alec Bunting, Dr. Mitchell was chronically impaired, even if he had not been intoxi-
cated at the actual time. Further, the documents suggest that his latter state of actual intox-
ication could have been the operative one at the time of the surgery he performed on the
plaintiff. Relatedly, the evidence suggest that Dr. Mitchell’s abuse and addiction were
worsening over the course of a decade or so and were roughly at their worst at the time of
his surgery on the plaintiff. My ultimate Opinion in this matter is that in and around the
time of the surgery on Alec Bunting, Dr. Mitchell was too impaired to practice surgery
and/or medicine safely.

Finally, it is my understanding that certain of Dr. Mitchell’s drug-treatment records have
not yet come into evidence. In matters such as this, where the timing of addiction and in-
toxication is highly relevant to the issues at bar, it is axiomatic that more information, such
as may well be contained in the treatment records, would be highly useful in allowing ex-
perts to opine more precisely about the defendant’s mental states at the times in question.

The opinions above are each offered to a reasonable degree of psychiatric certainty. You
will recall that in this matter | am charging you $650 per hour, with time in trial or deposi-
tion to be billed at $800 per hour.

Sincerely

Mark J. Mills, JD, MD
Case 11-28575-mkn Doc 28 _ Entered 06/29/12 09:10:40 Page 11 of 36

Mark J. Mills, J.D., M.D.

CURRICULUM VITAE
(Revised: October 2010)

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of Clinical Psychiatry
Department of Psychiatry
College of Physicians and Surgeons
Columbia University,
New York, New York

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Washington, District of Columbia 20007

(202) 333-3533 (main phone)
m/ mills « forensicsciences.com;_mjmillsidmd@gmail.com
Medically Licensed in District of Columbia

Board Certified - Psychiatry and Forensic Psychiatry
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Mark J. Mills, J.D., M.D.
Curriculum Vitae

Page 2 of 26
BORN November 19, 1945; Pasadena, California
CITIZENSHIP United States of America
EDUCATION A.B., University of California, Berkeley, 1967

J.D., Harvard Law School, 1970

M.D., Stanford University School of Mcdicine, 1975
LICENSURE MD32430 (District of Columbia, 2000- )

California G32251 (inactive)

Massachusetts 46279 (inactive)
DEA NUMBER BM7051600

ACADEMIC AWARDS AND HONORS

1967 A.B. cum laude

1967 Phi Beta Kappa

POSTGRADUATE TRAINING

1970-1971 Graduate Student Assistant in Psychiatry, Massachusctts Gencral Hospital, Boston, Mas-
sachusetts

1975-1976 Intern in Psychiatry, Stanford University Medical Center (and Veterans Administration
Medical Center) Stanford, California

1976-1977 Resident in Psychiatry, Stanford University Medical Center (and Veterans Administration
Medical Center) Stanford, California

1977-1978 Chief Resident, Department of Psychiatry, Veterans Administration Medical Center, Palo
Alto, California (for Stanford University)

ACADEMIC APPOINTMENTS
1978-1980 Assistant Professor (Clinical), Department of Psychiatry and Behavioral Sciences, Stan-
ford University School of Medicine, Stan ford, California

1980-1981 Instructor, Department of Psychiatry, Harvard Medical School, Boston, Massachusetts
1981-1983 Assistant Professor, Department of Psychiatry, Harvard Medical School, Boston, Massa-
chusetts

1983-1986 Lecturer, Department of Psychiatry, Harvard Medical School, Boston, Massachusetts

1983-1985 Associate Professor, Department of Psychiatry and Biobehavioral Sciences, University of
California Los Angeles School of Medicine, Los Angeles, California

1985-1987 Professor, Department of Psychiatry and Biobehavioral Sciences, University of Califor-
nia Los Angeles School of Medicine, Los Angeles, California

1987-1999 Clinical Professor, Department of Psychiatry and Biobehavioral Sciences, University of
California Los Angeles School of Medicine, Los Angeles, California

1997-2002 Clinical Professor, Department of Psychiatry, Georgetown University School of Medi-
cine, Washington, District of Columbia

1997-2003 Clinical Professor, Department of Psychiatry, New York Medical College, St. Vincent’s
Hospital, New York, New York

2002- Clinical Professor, Department of Psychiatry, Columbia University, College of Physi-
cians and Surgeons, New York, New York
2003- Adjunct Professor, Department of Psychiatry and Behavioral Sciences, New York Medi-
cal College, St. Vincent’s Hospital, New York, New York
HOSPITAL APPOINTMENTS
1977-1978 Acting Director, Psychiatric Evaluation Umt. Palo Alto Veterans Administration Medical
enter

1978-1980 Director, Psychiatric Evaluation Unit, Palo Alto Veterans Administration Medical Center
1980-1981 Executive Officer, Massachusetts Mental Hea! th Center
Case 11-28575-mkn Doc 28 _ Entered 06/29/12 09:10:40 Page 13 of 36

Mark J. Mills, J.D., M.D.
Curriculum Vitae

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1980-1981
1980-1981
1983-1987
1984-199]

1985-

Co-Director, Program in Psychiatry and the Law, Massachusctts Mental Health Center
Walk-In Supervisor, Massachusctts Mental Health Center

Chief, Psychiatry Scrvice, West Los Angelcs Vctcruns Administration, Brentwood Divi-
sion

Director, Program in Psychiatry and the Law, Neuropsychiatric Institute, University of
California Los Angeles, School of Medicine

Membcr, Stanford Mcdical School Alumni Resource Group

BOARD CERTIFICATION, FELLOWSHIPS, AWARDS, GRANTS

1982-
1983-
1978-
1981
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1985

1986-
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2010-

Diplomate, Amcrican Board of Psychiatry and Neurology, No. 24196
Diplomate, American Board of Forensic Psychiatry, No. 143

Fellow, American College of Legal Medicine

Harry C. Solomon Award

Harry C. Soloinon Award (co-recipient)

Distinguished Service Award, Amcrican Society of Law & Medicine

Bronze Medal, 28th Annual International Film and Television Festival of New York, "In
the Absence of Angels - A Report on the Homeless Mentally Ill Chronology"
Fellow, Pacific Rim College of Psychiatrists

Distinguished Fellow, American Psychiatric Association

Distinguished Lifctime Fellow, Amcrican Psychiatric Association

PROFESSIONAL SOCIETY MEMBERSHIPS
MEMBERSHIPS, OFFICES, AND MAJOR COMMITTEE ASSIGNMENTS

1976-
1976-1980

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1989-1995
1991-1995

Amcrican Psychiatric Association, Distinguished Fellow

Committee on Psychobiology, Northern California Psychiatric Society (Chair, 1978-

1979)

Amcrican Acadcmy of Psychiatry and the Law

American College of Legal Medicine

Commission on Judicial Action, American Psychiatric Association

American Association for the Advancement of Science

Committee on Accreditation of Training Programs in Forensic Psychiatry, American

Academy of Psychiatry and the Law

Committee on the Abuse of Psychiatry and Psychiatrists, American Academy of Psychia-

try and the Law

Commission on the Mentally Disabled, American Bar Association (Consultant)

American College of Mental Health Administration

Committee on Law, Chair, National Association of State Mental Health Program Direc-

tors

Program Committee, American Academy of Psychiatry and the Law

‘cam on Comprehensive Health Planning, American Psychiatric Association
air

American Association of Psychiatric Administrators

American Society of Law and Medicine

Committee on Psychiatry and the Law, California Psychiatric Association

Souther California Psychiatric Socicty

Program Committee, Hospital and Community Psychiatry Institute Program, American

Psychiatric Association (Chair, 1986-1987)

Committee on Public Psychiatry, American Psychiatric Association

American College of Psychiatrists

American Association of Social Psychiatry

Benjamin Rush Socicty

Committee on Confidentiality, American Psychiatric Association (Consultant)

Pacific Rim College of Psychiatrists (Fellow)

Council on Psychiatry and Law, American Psychiatric Association (Vice Chair)

San Diego Society of Psychiatric Physicians

Committee on Occupational Psychiatry, American Psychiatric Association
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Mark J. Mills, J.0., M.D.
Curriculum Vitae

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1994. Amcrican Medical Association

1994-1995 California Medical Association

1995- Medical Society of the District of Columbia

1995- Washington Psychiatric Socicty

EDITORIAL BOARDS

1981-1991 Assistant Editor, Behavioral Scicnces and the Law

1982-1989 Associate Editor, Bulletin of the American Academy of Psychiatry and the Law (Section
Editor, Discourse and Dispute)

1982-1987 Advisory Board, Hospital and Community Psychiatry

1984-1985 Associate Editor, Legal Aspects of Psychiatric Practice

1985-1990 Associate Editor, Alzheimer’s Disease and Associated Disorders

1986-1990 Associate Editor, Psychiatric Journal of the University of Ottawa

1987-1989 Editorial Board, International Journal of Law and Psychiatry

1987- Associate Editor, Journal of Clinical Psychiatry

BOARD OF DIRECTORS

1982-1985 American Society of Law and Medicine

1985-1988 International Academy of Law and Mental Health

1985-1989 Center for the Study of Psychological Trauma (Advisory Council)
1986-1989 Greater Los Angeles Partnership for the Homeless

1995- Advisory Board, Wender-Weis Foundation for Children, Palo Alto, California
1999. Forensis, Inc.
1999- Parcnial Alienation Syndrome Foundation

JOURNAL SOLICITING MANUSCRIPT REVIEW
American Journal of Psychiatry
Archives of General Psychiatry
Psychosomatics
Journal of Legal Medicine
Journal of Clinical Psychiatry
American Journal of Medicine

PROFESSIONAL AND EDUCATIONAL APPOINTMENTS

MAJOR COMMITTEE ASSIGNMENTS IN HOSPITALS AND MEDICAL SCHOOLS

1970-1973 Medical School Admissions Committee, Stanford University Medical Center

1975-1976 Residence Education Committee, Stanford University Medical Center

1978-1980 The Committce on Patients! Rights, Palo Alto Vetcrans Administration Medical Center

1979-1980 Clerkship Coordinator, Department of Psychiatry and Behavioral Sciences, Stanford
University Medical Center

1980-1981 Safety Committee, Chairman, Massachusetts Mental Health Center

1983-1985 Therapeutic Agents and Pharmacy Review Committee, Chairman, Veterans Administra-
tion Medical Center, West Los Angeles, California

1983-1987 Physicians Professional Standards Board, Veterans Administration Medical Center,
Brentwood Division

1983-1984 Residency Education Committee, Neuropsychiatric Hospital, University of California,
Los Angeles

1983-1986 Residency Education Committee, Veterans Administration Medical Center, Brentwood
Division, Los Angeles

1983-1986 Medical Center Planning Committee, Veterans Administration Medical Center, Brent-
wood Division, Los Angeles

1983-1984 Human Subjects Committee, Veterans Administration Medical Center, Brentwood Divi-
sion, Los Angeles

1983-1986 Public Policy and Political Action Committee, Department of Psychiatry and Biobehav-
ioral Sciences, University of California, Los Angeles

1983-1986 Budget Committee, Veterans Administration Medical Center, Brentwood Division, Los
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Mark J. Mills, J.D., M.0.
Curriculum Vitae
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Angelcs

1983-1986 Committee on Acadcmic Promotions, Department of Psychiatry and Biobehavioral Sci-
ences, University of California, Los Angeles

1984-1986 Committee on Executive Development, Neuropsychiatric Institute, University of Califor-
nia, Los Angeles

1984-1987 Policy Advisory Committee, Robert Wood Johnson Clinical Scholars Program, Universi-
ty of California, Los Angelcs

STATE APPOINTMENT
1981. 1983 Commissioncr, Department of Mental Health, Massachusctts

VISITING APPOINTMENTS

1979-1980 Cooperating Clinical Assistant Professor, Stanford Law School

1980-1983 Physician in Residence, Veterans Administration, Washington, D.C.

1981-1982 Visiting Lecturer, Harvard Law School

1986-1988 Consultant, Tourette Syndrome Association

1987-1988 Consultant, Task Force on Mental Health and Correctional Issues, California Council on
Mental Health

CONSULTATION TO GOVERNMENT

1980-1981 Consultant, State of Nevada, Department of Mental Health

1984-1986 Consultant, Civil Rights Division, United States Department of Justice
1984-1986 Consultant, State of California, Select Committee on Mental Health
1985-1988 Consultant, State of New York, Office of Mental Health

1987-1988 Consultant, State of Oregon, Officc of thc Department of Justice
1987-1989 Consultant, State of Arkansas, Office of the Attorney General

1987- Consultant, United States Attorncy, United States Department of Justicc

1987-1990 Consultant, State of Arizona, Department of Health Services

1987 Consultant, State of Maryland, Department of Health and Mental Hygiene

1988-1991 Consultant, State of California, Department of Mental Health, Division of Forensic Ser-
vices

1989 Consultant, State of Tennessee, Department of Mental Health and Mental Retardation

1989-1991 Consultant, State of Maine, Office of Attorney General
1997-1998 Consultant, State of Illinois, Department of Mental Health and Developmental Disabili-

ties

2003- Fedcral Burcau of Investigation

CONSULTATIONS TO INDUSTRY

1987-95 Southern California Edison Company

1989-95 Pacific Gas and Electric Company

1990 Arizona Public Service Company

EDUCATIONAL ACTIVITIES

MAJOR TEACHING EXPERIENCE

1969 Organizer and lecturer: "Practical Law for the Layman," six-lecture series to students at a
Cambridge, Massachusetts high school.

1977 Organizer and lecturer: "Emergency Psychiatry," ten introductory lectures given to first-

year residents, Stanford.

1977-1980 Organizer and lecturer: "The Psychiatric Interview," "Affective disorders," and "Neuro-
sis" for clerkship students, Psychiatry 300, Stanford.

1977-1980 Organizer and lecturer: “Major Clinical Syndromes," psychopathology course for se-
cond-year psychiatry residents, Stanford.

1979-1980 Organizer and lecturer: “Psychopathology and Mental Health Law" (with David Rosen-
han), Law 338, Law School, Stanford.

1979-1980 Organizer and lecturer: "Topics in Psychobiology" (with Philip A. Berger), Human Biol-
ogy 163, Stanford.
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1980 Organizer and lecturer: “Psychiatry and the Law" (with Thomas G. Gutheil), a two
Iccture series for first-year psychiatric residents, Massachusetts Mental Health Center.

1980 Organizer and Iccturer: "Expericnce of Therapy," Psychiatry 700a, a twelve-lecture sc
ties for first-year students, Harvard Mcdical School.

198 Organizer and lecturer: "Prediction and Prevention of Harmful Conduct" (with Alan D.
Dershowitz and Thomas G. Gutheil), Harvard Law School.

1982 Organizer and Iccturcr: “Program in Psychiatry and Law" (with Thomas G. Gutheil),
Massachusetts Mental I lealth Center.

1983- Organizer and Iccturcr: "“Scminar in Law and Psychiatry," scrics for psychiatric resi

1983-1984 Course Chairman: Inpatient clerkship

dents, University of California, Los Angeles.
‘or medical students, University of California, Los
Angeles.

1983-1984 Course Chairman: Outpaticnt clerkship for medical students, University of California,

Los Angcles.

1983-1984 Course Chairman: Six-weck clinical clerkship for medical students, University of Cali-

fornia, Los Angeles.

1983-1984 Course Chairman: Clinical fundamentals clerkship for second year medical students,

University of California, Los Angeles.

1983-1984 Organizer and lecturer: "The Insanity Defense" (with William J. Winslade), seminar for

1984
1984

law students, School of Law, University of California, Los Angclcs.

Lecturer: “Legal Issues in Geriatric Psychiatry," for geriatric fellows, West Los Angeles
Veterans Administration Medical Center, Los Angeles.

Lecturer: "Psychiatric Issues in Civil Commitment,” (with Robert Goldstein, J.D.), semi-
nar for law students, School of Law, University of California, Los Angeles.

1985-1986 Lecturer: "The Psychiatric Hospital in History, Mcdicinc and Law" (with Dora B.

Weiner), class for undergraduates, College of Letters and Sciences, University of Cali-
fornia, Los Angeles.

PUBLICATIONS - ARTICLES (REFEREED JOURNALS)

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nal of Psychiatry, 133:526-531, 1976.

Watson, S.J., Berger, P.A., Akil, H., Mills, M.J. and Barchas, J.D. Effects of naloxone on schiz-
ophrenia: reduction in hallucinations in a subpopulation of subjects. Science, 201:73-76, 1978.

 

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et traitement des psychotiques violents aux Etats-Unis. Annales Médicopsychologiques,
137:760-763, 1979.

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Ictin of the Amcrican Academy of Psychiatry and the Law, 8:119-132, 1980.

Mills, M.J. The rights of involuntary patients to refuse pharmacotherapy: what is reasonable?
Bulletin of the American Academy of Psychiatry and the Law, 8:313-334, 1980.

 

Mills, M.J. The continuing clinicolegal conundrum of the Boston State Hospital Case. Medi-
colegal News, 9:9-18, 1981.

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tion of aggression in psychiatric patients. Journal of Nervous and Mental Disease, 169:299-302,
1981.

Yesavage, J.A.; Becker, J.M.T.; Werner, P.D.; Mills, M.J.; Holman, C.A. and Cohn, R. Serum
level monitoring of thiothixene in schizophrenia: acute single-dose levels at fixed doses. Ameri-
can Journal of Psychiatry, 139:174 -178, 1982.
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reality: conflict between models of decision-making in psychiatry and law. Bulletin of the Amer-
ican Academy of Psychiatry and the Law, 10:17-27, 1982.

Yesavage, J.A.; Werner, P.D.; Becker, J.M.T. and Mills, M.J. Short-term civil commitment of
the violent patient: a study of legal status and hospital behavior. American Journal of Psychiatry,
130:1145-1149, 1982.

Yesavage, J.A.; Benezech, M.; Bourgeois, M. and Mills, M.J. Etudes des correlations entre
modcs d'intérmement ct comportement agressif dans une unité psychiatrique californienne. An-
nales Médico sychologique, 137:770-776, 1982.

Yesavage, J.A.; Werner, P.D.; Becker, J.M.T. and Mills, M.J. The context of involuntary com-
mitment on the basis of danger to others: a study of the use of the California 14-day certificate.
Journal of Nervous and Mental Disease, 170:622-627, 1982.

Mills, M.J. and Cummins, B.D. Deinstitutionalization Reconsidered. International Journal of
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Mills, M.J.; Guthcil, T.G.; Igneri, M.A. and Grinspoon, L. Mental paticnts' knowledge of in-
hospital rights. American Journal of Psychiatry, 140:225-228, 1983.

Mills, M.J. and O'Keefe, A.M. Legal issues in outpatient treatment. Journal of Clinical Psychia-
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Rubin, L.C. and Mills, M.J. Behavioral precipitants to civil commitment, American Journal of
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Mills, MJ. Family conflict, psychopathalogy and dangerous behavior by schizophrenic inpa-
tients, Psychiatry Research, 8:271-280, 1983.

Mills, M.J.; Cummins, B.D. and Gracey, J.S. Legal issues in mental health administration. Inter-
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Benezech, M.; Yesavage, J.A.; Addad, M.; Bourgeois, M. and Mills, M.J. Homicide by psychot-
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Mills, M.J.; Pearsall, T.D.; Yesavage, J.A. and Salzmann, C. Electroconvulsive therapy in Mas-
sachusetts. American Journal of Psychiatry, 141:534-538, 1984.

Mills, M.J. The so-called duty to warn: the psychotherapeutic duty to protect third partics from
patients' violent acts. Behavioral Sciences and the Law, 2:237-258, 1984.

 

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Phelan, L.A.; Mills, M.J. and Ryan, J.A. Prosecuting psychiatric patients for assault. Hospital
and Community Psychiatry, 36:581-582, 1985.

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jectable molindone and haloperidol followed by transition to oral forms in the treatment of acute-
ly ill schizophrenics. Journal of Clinical Psychiat, 46:15-19, 1985,

Irwin, M.; Lovitz, A.; Marder, S.R.; Mintz, J.; Winslade, W.J.; Van Putten, T. and Mills, M.J.
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1985.

Fricdlander, A.H. and Mills, M.J. The dental management of the drug-depcendent patient. Oral
Medicine, 60:489-492, 1985.

Beaber, R.J.; Marston, A.; Michelli, J. and Mills, M.J. A brief test for measuring malingering in
schizophrenic individuals. American Journal of Psychiatry, 142:1478-1481, 1985.

Fogel, B.S.; Mills, MJ. and Landen, J.E. Legal aspects of the treatment of delirium. Hospital
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Bursztajn, H.; Gutheil, T.G.; Mills, M.J.,; Hamm, R.M. and Brodsky, A. Process Analysis of
Judges’ Commitment Decisions: a preliminary empirical study. American Journal of Psychiatry,
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Mills, M.J. Recidivism of the criminally insane in France: a 22-year follow-up. Journal of Clin-
ical Psychiatry, 47:465-466, 1986.

Mills, M.J.; Sullivan G. and Eth, S. Protecting third parties: a decade after Tarasoff. American
Journal of Psychiatry, 144:68-74, 1987.

Friedlandcr, A.H.; Mills, M.J. and Gorelick, D.A. Alcoholism and dental management. Oral
Surgery, Oral Medicine, Oral Pathology, 63:42-46, 1987.

Friedlander, A.H.; Mills, M.J. and Wittlin, B.J. Dental management considerations for the patient
with post-traumatic stress disorder. Oral Surgery, 63:669-673, 1987.

Young, J.L.; Mills, M.J. and Sach, R.L. Civil commitment by conservatorship: the workings of
California's law. Bulletin of the American Academy of Psychiatry and the Law, 15:127-139,
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ternational Journal of Law and Psychiatry, 10:297-309, 1987.

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ics. Journal of Clinical Psychiatry, 48:29-32, 1987.

Friedlander, A.H.; Mills, M.J. and Cummings, J.L. Consent for dental therapy in severely ill pa-
tients. Oral Surgery, 65:179-182, 1988.

Mills, M.J. Civil commitment: the relationship betwecn perccived dangcrousness and mental
illncss. Archives of General Psychiatry, 45:770-772, 1988.

Ornish, S.A.; Mills, M.J. and Ornish, M.C. Prearraignment forensic evaluations: towards a new
policy. Bulletin of the American Academy of Psychiatry and the Law, 24:453-470, 1996.

Gerasimov, M.R.; Ashby, C.R., Jr.; Gardner, E.L.; Mills, M.J.; Brodie, J.D. and Dewey, S.L.
Gamma vinyl-GABA Inhibits Methamphetamine, Heroin, and Ethanol-Induced Increases in Nu-
cleus Accumbens Dopamine. Synapse, 34:11-19, 1999.

Hirose, S.; Ashby, C.R., Jr. and Mills, M.J. Effectiveness of ECT combined with Risperidone
against aggression in schizophrenia. Journal of Electroconvulsive Therapy, !7:22-26, 2001.

Reeves, D., Mills, M.J., Billick, $.B. and Brodic, J.D. The limitations of brain imaging in the
assessment of criminal intent. Journal of the American Academy of Psychiatry and the Law,
31:89-96, 2003.

PUBLICATIONS - ARTICLES (NON-REFEREED JOURNALS)

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Mills, M.J. and Levy, B.E. The Mills case: the issue of treatment refusal remains unresolved.
American Academy of Psychiatry and the Law Newsletter, 7:10-13, 1982.

Winslade, W.J.,; Lyon, M.A.; Levinc, M.L. and Mills, M.J. Making medical decisions for the
Alzheimer's patient: paternalism and advocacy. Psychiatric Annals, 14:206-208, 1984.

Mills, M.J. and Winslade, W.J. Clinicolegal aspects of treating demented patients. Psychiatric
Annals, 14:209-211, 1984.

 

Mills, M.J. The Tarasoff duties expand. American Academy of Psychiatry and the Law Newslet-
ter, 9:8-11, 1984.

Mills, M.J. A psychotherapcutic duty to fourth parties. American Academy of Psychiatry and
the Law Newsletter, 10:15, 1985.

Mills, M.J. and Raiss, C. California law limits Tarasoff liability. American Academy of Psychia-
try and the Law Bulletin, 11:12-14, 1986.

 

Mills, M.J. Treating the treatment-refusing patient. American Academy of Psychiatry and the
Law Newsletter, 13 (2): 12-13, 1988.

Mills, M.J. and Rosenberg, J.E. Question: Is there a duty to disclose possible pcer-revicw activi-
ties to patients? American Academy of Psychiatry and the Law Newsletter, 19 (3): 65-66, 1994.

 
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Mills, M.J. Obtaining Informed Consent for Clozaril Treatment. The (‘lozaril (clovapine) Moni-
tor 1 (5): 4, 1998.

59. Gerasimov: M.R., Ashby, C.R., Gardner E.L., Mills: MJ., Brodie: J.D., Dewey, S.D.
Gamma vinyl GABA inhibits methamphetamine, heroin, or cthanol induced increases in nucleus
accumbens dopamine. Synapse, 34 (1), 11-19, 1999.

60. Reeves, D., Mills, M.J., Billick, $.B. and Brodie, J.D. Limitations of Brain Imaging in Forensic
Psychiatry. Journal of the Amcrican Academ_ of Psychiatry and the Law, 33 (1): 89-

61. Lipian, M.S., Mills, M.J. and Brantman, A. Assessing Childrens Allegations of Abuse: A Psy-
chiatric Overview International Journal of Law and Psychiatry, 27: 249-262, 2004.

PUBLICATIONS - BOOK

62. Halleck, N.H., Halleck, S.L., Hodge, S.K., Pfachicr, G.T., Miller, R.D., Mills, M.J. and Sadoff,

R.L. The Use of Psychiatric Diagnoses in the Legal Process. Amcrican Psychiatric Association
Task Force Report No. 32, Washington, D.C., 1992.

PUBLICATIONS - BOOK CHAPTERS

63.

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Mills, M.J. and Avery, D. The legal regulation of electroconvulsive therapy. In Mood Disorders:
The World's Major Public Health Problem. F.J. Ayd (ed.), Frank Ayd Communications, Balti-
more, Maryland, 154-183, 1978.

 

Avery, D. and Mills, M.J. Elcctroconvulsive therapy and antidepressants in the treatment of dc-
pression. In Mood Disorders: The World's Major Public Health Problem. F.J. Ayd (cd.), Frank
Ayd Communications, Baltimore, Maryland, 138-153, 1978.

Mills, M.J. Helping the obese patient. In Psychiatry for the Primary Care Physician. A.M.
Freeman, R.L. Sack, and P.A. Berger (eds.), Williams and Wilkins, Baltimore, Maryland, 317-
332, 1979.

Mills, M.J. The right to treatment: little law but much impact. In Psychiatry 1982: American
Psychiatric Association Annual Review, L. Grinspoon (ed.), American Psychiatric Association
Press, Washington, D.C., 361-370, 1982.

Gutheil, T.G. and Mills, M.J. Legal aspects of pseudoseizures. In Pseudoseizures, T.L. Riley and
A. Roy (eds.), Williams and Wilkins, Baltimore, Maryland, 213-223, 1982.

Mills, M.J. and Gutheil, T.G. Legal approaches to treating the treatment-refusing patient. In Re-
fusing Treatment in Mental Health Institutions - Values in Conflict. A.E. Doudera and J.P.

Swazey (eds.), AUPHA Press, Ann Arbor, Michigan, 95-99, 1982.

Gutheil, T.G. and Mills, M.J. Clinical approaches to patients who refuse medication. In Refusing
Treatment in Mental Health Institutions - Valucs in Conflict. A.E. Doudcra and J.P. Swazey

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Mills, M.J. Expanding the duties to protect third parties from violent acts. In Legal Encroach-
ments into Psychiatric Practice, New Directions for Mental Health Service Series, S. Rachlin
{ed.), Jossey-Bass, Inc., San Francisco, California, 61-68, 1985.

 

Gutheil, T.G.; Rachlin, S. and Mills, M.J. Differing conceptual models between psychiatry and
law. In Legal Encroachments into Psychiatric Practice, New Directions for Mental Health Ser-
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72. Mills, M.J. and Beck, J.C. The Tarasoff case. In The Potcntiall Violent Patient and the Tarasoff
Decision in Psychiatric Practice. James C. Beck (ed.), American Psychiatric Association Mono-
graph Scries. Amcrican Psychiatric Association Press, Washington, D.C., 2-7, 1985.

73. Lamb, H.R. and Mills, M.J. The chronically mentally ill: changes in law and procedure. In
Hospital and Community Psychiatry, 37: 475 480, 1986. (Refereed Article) Reprinted in, De-
velopments Affectin ‘Those with Chronic Mental Illness. J.A. ‘Talbott (ed.), American Psychiat-
ric Press, Washington, D.C., 133-144, 1986.

74, Mills, M.J. and Danicls, M.L. Medical Icgal issucs. In Principles of Medical Psychiatry, A.
Stoudemire and B.S. Fogel (cds.), Grune & Stratton, Orlando, Florida, 463-474, 1987.

75. Mills, M.J. and Eth, S. Legal aspects of treating patients with organic mental syndromes. In
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76. Eth, S. and Mills, M.J. Ethical issues in the treatment of patients with organic mental syndromes.
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77, Eth, S. and Mills, M.J. Ethical and legal considerations in geriatric psychiatry. H.I. Kaplan and
B.J. Kaplan (cds.) In Comprchensive Textbook of Psychiatry/V., Williams & Wilkins, Baltimore,
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78. Eth, S. and Mills, MJ. Treating patients who threaten violence: ethical concerns. In Critical
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Rosner and Robert Weinstock (eds.), Plenum, New York, 197-206, 1990.

79. Mills, M.J. and Lipian, M.S. Psychiatry and legal regulation: Thirty years of beneficence or
three decades of bedevilment? In The Mosaic of Contemporary Psychiatry in Perspective. A.
Kales, C, Pierce and M. Greenblatt (eds.), Springer-Verlag, New York, 24-35, 1991.

80. Mills, M.J. and Lipian, M.S. Malingering. In Comprehensive Textbook of Psychiatry/V1. H.1.
Kaplan and B.J. Kaplan (eds.), Williams & Wilkins, Baltimore, Maryland, 1614-1622, 1995.

81. Lipson, G. S. and Mills, M.J. Stalking, Erotomania, and the Tarasoff Cases. In The Psychology
of Stalking - Clinical and Forensic Perspectives. J. Reid Meloy (ed.), Academic Press, San Die-
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83. Mills, MJ. and Lipian, M.S. Malingering. In Comprehensive Textbook of Psychiatry/VII. H.I.
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87. Mills, M.J.; Phelan, L. and Ryan, J.A. Response to letter. Hos ital and Communit) Ps chiat:,
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89. Altshuler, L.L.; Cummings, J.L. and Mills, M.J. Differential diagnosis of mutc patients. Ameri-
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94. Mills, M.J. Knowing right from wrong: the insanity defense of Daniel McNaughtan by Richard
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95. Mills, M.J. Psychiatric interventions and malpractice. Clinical Psychopharmacology, 3:335,
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ment, 12:7, 1992 (Panel discussion and text prepared for the American College of Psychiatrists)

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the American Psychiatric Association Annual Meeting, Anaheim, California, May 1977.

Mills, M.J. and Stunkard, A.J. Surgery for obesity. Presented at the American College of Physi-
cians Annual Meeting, Dallas, Texas, April 1977.

Mills, M.J. Informed consent with psychotic patients. Presented to the Northern California Psy-
chiatric Society, Carmel, California, (by invitation), April 1977.

Mills, MJ. Informed consent and research. Presented at the American Psychiatric Association
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Mills, M.J. and Avery, D. (How) should the law regulate ECT? Presented at the VI World Con-
gress of Psychiatry, Honolulu, Hawaii, August 1977
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6. Sack, R.L.; Young, J.; and Mills, M.J. Conservatorship for the mentally ill. Presented at the V1
World Congress of Psychiatry, Honolulu, Hawaii, August 1977.

7. Lederberg, M.S.; Mills, M.J.; and Freeman, A.J. Psychiatric consultation for legal reasons. Pre-
sented at the VI World Congress, Honolulu, Hawaii, August 1977.

8. Mills, M.J. and Avery, D. The Icgal regulation of ECT. Presented at the Tenth Annual Taylor
Manor Symposium, Ellicott City, Maryland, (by invitation), April 1978.

9. Mills, MJ. The rights of involuntary paticnts to refuse pharmacotherapy: what is rcasonablc?
Presented at the Tenth Annual Mccting of the American Acadcmy of Psychiatry and the Law,
Baltimore, Maryland, (by invitation), October 1979.

10. Mills, M.J. Legislative issues in head injury care: legal protection for family and client. Pre-
sented at the National Association for the Head Injured Annual Meeting, San Jose, California, (by
invitation), March 1980.

Vt. Mills, M.J. Legal protection - guardianship/conservatorship. Presented at the National As-
sociation for the Head Injured Annual Meeting, San Jose, California, (by invitation), March 1980.

12. Mills, M.J. Legal issues and the treatment of the resistant patient. Presented at Treating the Re-
sistant Patient: Inpatient and Community Perspectives. The First Annual Shoul Memorial Con-
ference, Harvard Medical School, Boston, Massachusetts, (by invitation), October 1980.

13. Mills, M.J. Resolved: Psychiatrists should participate in the death sentence. Presented at the
11th Annual Meeting of the American Academy of Psychiatry and the Law, Chicago, Illinois, (by
invitation), October 1980.

14. Mills, M.J. Research in mental health law. Presented at the 32nd Annual Meeting of the Ameri-
can Society of Criminology, San Francisco, California, (by invitation) November 1980.

15. Mills, M.J. On the right to refusc treatment. Presented at the Psychiatry Law Update: New de-
velopments affecting clinicians and attorneys, Harvard Medical School, Boston, Massachusetts,
(by invitation), February 1981.

16. Mills, M.J. Forensic aspects of psychological testing. Prescnted to the Department of Psy-
chology, Massachusetts Mental Health Center, Boston, Massachusetts, (by invitation), March
1981.

17. Mills, M.J. Developing case law in the right to refuse treatment. Presented at the 21st Interna-
tional Conference on Legal Medicine, San Diego, California, May 1981.

18. Mills, M.J. The right to refuse treatment: evolution and revolution. Presented at the UCLA Col-
loquium on Behavioral Sciences, Los Angeles, California, (by invitation), May 1981.

19, Mills, M.J. The right to refuse treatment reconsidered. Presented at the Department of Psy-
chiatry Conference, Harbor Medical Center, Long Beach, California, (by invitation), September
1981.

20. Mills, M.J. Public-sector constraints on mental health delivery. Presented at the Psychiatry
Grand Rounds, Brigham and Women's Hospital, Boston, Massachusetts (by invitation), October
1981,
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Mills, M.J. Rethinking the limits of deinstitutionalization. Presented at the Annual Mccting of
the American Psychology-Law Socicty, Cambridge, Massachusetts, (by invitation), October
1981.

Mills, M.J. Forensic psychiatry and DSM-II1: Problems of administration. Presented at the 12th
Annual Meeting of the American Acudemy of Psychiatry and the Law, San Dicgo, California, (by
invitation), October 1981.

Mills, M.J. Complexitics and realitics of public-sector mental health delivery: can the present
system survive? Presented at the Florence Heller Graduate School (Brandeis University), Boston,
Massachusetts, (by invitation), November 1981.

Mills, M.J. The zeitgeist and mental health delivery. Presented at the Connecticut Mental Health
Center (Yale), New Haven, Connecticut, (by invitation), January 1982.

Mills, M.J. Competency to stand trial: The functional approach, or much ado over little. Pre-
scnicd at the Massachusetts Bar Association's Criminal Justice Section and the Social Science
Research Institute, Boston, Massachusetts, (by invitation), April 1982.

Mills, MJ. Public policy and the behavioral disorders of the developmentally disabled. Present-
ed at Tufls University School of Medicine, Medford, Massachusetts, (by invitation), April 1982.

Mills, M.J. Civil law-psychiatry interfaces of note: civil commitment, the right to refuse treat-
ment, and the right to treatment. Presented at the Grand Rounds, Massachusctts General Hospi-
tal, Boston, Massachusctts, (by invitation), April 1982.

Mills, M.J. New federalism and the states. Presented at the Brattleboro Retreat, Brattleboro,
Vermont, (by invitation), May 1982.

Mills, M.J. The right to treatment: little law but much impact. Presented at the American Psy-
chiatric Association Annual Meeting, Toronto, Canada, (by invitation), May 1982.

Mills, M.J. Continuing casc-law devclopment in the right to refuse treatment. Prescnted at the
American Psychiatric Association Annual Mccting, Toronto, Canada, (by invitation), May 1982.

Mills, M.J. Block grants in mental health: principles and policies. Presented at the American
Psychiatric Association Annual Mceting, Toronto, Canada, (by invitation), May 1982.

Mills, M.J. The role of the state in mandating services to persons with the dual diagnoses. Pre-
sented at the American Association of Mental Deficiency Annual Meeting, Boston, Massachu-
setts, (by invitation), June 1982.

Mills, M.J. Legal issues in the administration of mental health and retardation services. Prescnt-
ed at the Eighth International Congress on Law and Psychiatry, Quebec, Canada, June 1982.

Mills, M.J. The right to refuse treatment in the wake of Mills, Rennie and Youngberg. Presented
at the National Association of State Mental Health Program Directors, Arlington, Virginia, (by
invitation), July 1982.

Mills, M.J. Patients' rights: important recent developments. Presented at the Veterans Admin-
istration Medical Center, Salisbury, North Carolina, (by invitation), September 1982.

Mills, M.J. General hospital psychiatry: a Massachusetts perspective. Presentcd at the Mental
Health Project Annual Meeting, Framingham, Massachusetts, (by invitation), October 1982
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Mills, M.J. and Kicin, J.J. Between a rock and a hard place. Presented at the Amcrican Psy-
chiatric Association 34th Institute of Hospital and Community Psychiatry, Louisville, Kentucky,
(by invitation), October 1982.

Mills, M.J. and Goldstein, W.H. Administration for clinicians. Presented at the American Psy-
chiatric Association 34th Institute of Hospital and Community Psychiatry, Louisville, Kentucky,
(by invitation), October 1982.

Mills, M.J. and Goldstein, W.H. Creative administration and staffing. Presented at the American
Psychiatric Association 34th Institute of Hospital and Community Psychiatry, Louisvillc, Kcn-
tucky, (by invitation), October 1982.

Mills, M.J. and Gutheil, T.G. Guardianship and the right to refuse treatment: a critique of the Rue
case. Presented at the Thirteenth Annual Meeting of the American Academy of Psychiatry and
the Law, New York, NY, October 1982.

Gutheil, T.G. and Mills, M.J. Legal fictions and the manipulation of reality. Presented at the
Thirteenth Annual Meeting of the American Academy of Psychiatry and the Law, New York,
NY, October 1982.

Mills, MJ. Choices for the Commonwealth: the condition of politics and public policy in Mas-
sachusetts. Presented at the John F. Kennedy Library, Boston, Massachusetts, (by invitation),
October 1982.

Mills, M.J. Public administration in the Department of Mental Health. Presented at the Sloan
School of Management, Massachusetts Institute of Technology, Cambridge, Massachusetts, (by
invitation), October, 1982.

Mills, M.J. Mental health treatment of adjudicated persons. Presented at the National Com-
mission on the Insanity Defense, Arlington, Virginia, (by invitation), October, 1982.

Mills, M.J. National perspectives on the state of mental health delivery. Presented at the Nation-
al Council of Community Mcntal Health Centers, Springfield, Massachusetts, (by invitation),
November 1982.

Mills, M.J. Legal developments affecting paticnt care. Presented at the Psychiatric Grand
Rounds, Saint Vincent’s Hospital, Worcester, Massachusetts, (by invitation), November 1982.

Mills, M.J. Issues in public sector mental health delivery. Presented at the Joint Grand Rounds,
Department of Psychiatry and Department of Medicine, Rhode Island Hospital and Brown Uni-
versity, Providence, Rhode Island, (by invitation), November, 1982.

Mills, M.J. Future directions in mental health care, Presented at Boston University School of
Medicine, Department of Psychiatry and Social Work, Boston, Massachusetts, (by invitation),
November, 1982.

Mills, M.J. and Hilliard, J. Confidentiality and Tarasoff: the current status. Presented at Issues
in Mental Health and Law, Massachusetts Mental Health Center, Harvard Medical School, Bos-
ton, Massachusetts, (by invitation), December 1982.

Mills, M.J. The future of general hospital psychiatry units and community mental health centers
in an cra of fiscal constraints. Presented at A Community Interface: The Mental Hcalth Center
and the General Hospital, St. Anne's Hospital, Charlton Memorial Hospital and ( orrigan Menval
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Health Center, Westport, Massachusctts, (by invitation), January 1983.

Mills, M.J. Legal reform and deinstitutionalization: changes in the mental health care system.
Presented at the Rutgers-Princeton Post Doctoral Program in Mental Health Rescarch, New
Brunswick, New Jerscy, (by invitation), February 1983.

Mills, M.J. Constitutional litigation involving mental health systems. Presented at the Annual
Mccting of the Association of State Mental Health Attorncys, Arlington, Virginia, (by invitation),
February 1983.

Mills, M.J. Recent developments in mental health law affecting practitioncrs. Prescntcd at the
Philip Pinel Institutc, University of Montreal, Montreal, Canada, (by invitation), February, 1983.

Mills, M.J. Legal issues in outpatient treatment. Symposia: Compliance and the schizophrenic
outpaticnt. Presented at the American Psychiatric Association Annual Meeting, New York, NY,
(by invitation), May 1983.

Mills, M.J. Some recent problems confronting deinstitutionalized patients. Presented at the
American Psychiatric Association Annual Meeting, New York, NY, May 1983.

Mills, M.J. Civil commitment: standards and procedures. Presented at Recent Developments in
Mental Health Law, sponsored by the American Society of Law and Medicine, Chicago, Illinois,
(by invitation), June 1983.

Mills, M.J. Evolving civil commitment standards. Presented at the 14th Annual Mecting of the
American Academy of Psychiatry and the Law, Portland, Oregon, October 1983.

Mills, M.J. National dilemmas in public-scctor mental health delivery. Presented at the Portland
City Club, Portland, Oregon, (by invitation), October 1983.

Mills, M.J. Civil commitment: do the new standards make sense? Presented at the 35th Annual
Meeting of the American Society of Criminology, Denver, Colorado, November 1983.

Mills, M.J. Further development in the right to refuse treatment. Presented at the Colloquium
Series, Department of Psychiatry, University of Missouri, Columbia, Missouri, (by invitation),
December 1983.

Mills, M.J. Legal issues in psychiatry: consent and liability with neuroleptics; evolving civil
commitment criteria; rights to and to refuse treatment; and the insanity defense. Presented at the
Psychiatry Conference, Beth Israel Conferences, Vail, Colorado, (by invitation), February 1983.

Mills, M.J. Assaults on professional staff: systems resistance to prosecution. Presented at the
American Academy of Forensic Sciences, Anaheim, California, (by invitation), February 1984.

Mills, M.J. Rethinking civil commitment. Presented at the Sepulveda Veterans Administration
Medical Center, Sepulveda, California, (by invitation), March 1984.

Mills, M.J. Psychotherapist’s duties to third parties. Presented at the University of Southern Cal-
ifornia School of Medicine, Los Angeles, California, (by invitation), March 1984.

Mills, M.J. Dangerousness: the duties to warn and protect. Presented at the Department of Psy-
chiatry, Kern Mcdical Center, Bakersficld, California, (by invitation), March 1984.

Mills, M.J. The psychotherapist’s duties in dealing with violent patients. Presented at the Isaac
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Ray Center, Rush-Presbytcrian-St.Lukc's Medical Center, Chicago, Illinois, (by invitation), April
1984.

Mills, M.J. Legal evolution of Tarasoff, Presented at the Clarke Institute of Psychiatry, Toronto,
Ontario, Canada, (by invitation), April 1984.

Mills, M.J. Psychiatric cthics. Presented at Delamo Hospital, Torrance, California, (by invita-
tion), April 1984.

Mills, M.J. Interviewing in special circumstances: the assaultive patient. Presented at the Amer-
ican Psychiatric Association Annual Mccting, Los Angeles, California, May 1984.

Mills, M.J. A collaborative law/psychiatry relationship: co-mediated divorce by a psychiatrist
and a lawyer. Presented at the Amcrican Psychiatric Association Annual Mecting, Los Angeles,
Californis, May 1984.

Mills, M.J. Tarasoff and its legal progeny. Presented at the American Psychiatric Association
Annual Meeting, Los Angeles, California, May 1984.

Mills, M.J.. Some legal aspects of prescribing anti-psychotic medications. Presented at the 8th
Annual Psychiatry Symposium on "Trends in Psychiatry," Kaiser Permanente, Newport Beach,
California, (by invitation), June 1984.

Mills, M.J. Expanding dutics to third partics: further sequclac to Tarasoff. Presented at the 10th
International Congress of Law and Psychiatry, Banff, Alberta, Canada, (by invitation), June 1984.

Mills, M.J. Evolving duties when using neuroleptic therapy: problems of consent and liability.
Prescntcd at the Seminar on Tardive Dyskincsia, Detroit-Wayne County Community Mental
Health Board, Detroit, Michigan, (by invitation), June 1984.

Mills, M.J. Mental health and mental retardation issues in equal employment opportunity as-
sessment. Presented at the Conference on Equal Employment, Los Angeles, California, (by invi-

tation), June 1984.

Mills, M.J. Some aspects of California's civil commitment procedures. Presented at the Veterans
Administration Center, Sepulveda, California, (by invitation), September 1984.

Mills, M.J. Recent developments affecting hospitalization standards. Presented at the Recent
Developments in Mental Health Law Meeting, sponsored by the American Society of Law and
Medicine, Los Angeles, California, (by invitation), October 1984.

Mills, M.J. Forensic update. Presented at the American Psychiatric Association 36th Institute on
Hospital and Community Psychiatry, Denver, Colorado, (by invitation), October 1984.

Mills, M.J. and Winslade, W.J. Confidentiality. Presented at the American Psychiatric Associa-
tion 36th Institute on Hospital and Community Psychiatry, Denver, Colorado, (by invitation), Oc-
tober 1984.

Mills, M.J. Heterocyclic antidepressants and cardiotoxicity. Presented at the People-to-People
International Medical Conference of the CMA on Affective Psychosis, Huang Shan City, People's
Republic of China, (by invitation), November 1984.

Mills, M.J. Clinicolegal consequences of deinstitutionalization. Presented at the Peoplc-to-
People International Delegation to the Korean Medical Association, Seoul, South Korea, (by invi-
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tation), November 1984.

82. Mills, M.J. Predicting dangerousness: the clinical relevance of Tarasoff. Presented at the Patton
State | lospital Colloquium, Patton California, (by invitation), December 1984.

83. Mills, M.J. Clinical management of the dangerous patient: does Tarasoff make sense? Presented
at Gladman Meimorial Hospital, Oakland, California, (by invitation), December 1984.

84, Mills, M.J. Problems in psychiatry. Presented at the 1985 Medical Malpractice Seminar, U.S.
Department of Justice, Attomey General's Advocacy Institute, Long Beach, California, (by invita-
tion), January 1985.

85. Mills, M.J. Legal boundaries in psychiatric practice. Presented at the Benjamin Rush Society
Mccting, Tucson, Arizona, (by invitation), January 1985.

86. Mills, M. J. Current themes in malpractice litigation. Presented at Kaiser Permanente, Van Nuys,
California, (by invitation), February 1985.

87. Mills, M.J. Legal changes affecting homelessness. Presented at the Forum for the Homeless, Los
Angeles, California, (by invitation), March 1985.

88. Mills, M.J. Legal issues in psychiatric care. Presented at the Ventura County Medical Center,
Ventura, California, (by invitation), March 1985.

89. Mills, M.J. Clinical issucs in the right to (catment/right to refuse treatment. Presented at the
American Orthopsychiatry Association Annual Meeting, New York, NY, (by invitation), April
1985.

90. Mills, M.J. Further clinicolegal conundra in the Tarasoff progeny. Presented at the Connecticut
Mental Health Center (Yale), New Haven, Connecticut, (by invitation), April 1985.

91. Mills, M.J. Legal and ethical considerations for professionals treating violent patients. Presented
to the Institute for the Advancement of Human Behavior, Chicago, lilinois, (by invitation), April
1985.

92. Mills, M.J. Some legal issues arising in the treatment of violent patients. Presented to the Fel-
lows in Psychiatry and Law, USC Medical Center, Los Angeles, California, (by invitation), May
1985.

93. Mills, M.J. Interviewing in special circumstances: the assaultive patient. Presented at the Amer-
ican Psychiatric Association Annual Meeting, Dallas, Texas, May 1985.

94, Mills, M.J. Patient confidentiality: should precedence take over other interests except where life
is at stake (Scientific Debate)? Presented at the American Psychiatric Association Annual Mect-
ing, Dallas, Texas, (by invitation), May 1985.

95. Lamb, R.H. and Mills, M.J. Our chronic patients' future in a changing world: change in laws and
procedures. Presented at the American Psychiatric Association Annual Meeting, Dallas, Texas,
(by invitation), May 1985.

96, Mills, M.J. Legal approaches to treating the violent, non-compliant patient in the community.
Presented at the Sceatthke CMHC/University of Washington Annual Mecting on Innovation in
Community Treatment, Scattle, Washington, (by invitation), June 1985.
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Mills, M.J. Legal implications of tardive dyskinesia. Prescnted to Department of Psychiatry and
Behavioral Sciences, The University of Texas Medical Branch at Galveston, Galveston, Texas,
(by invitation), October 1985.

Mills, M.J., ct al. Violent and threatening paticnts: legal, regulatory, and professional issues.
Presented at Vetcrans Administration Medical Center Tucson, Arizona, (by invitation), October
1985.

Mills, M.J. Liability, limitation, protecting third parties and Tarasoff. Presented to American
Academy of Psychiatry and the Law, Albuquerque, New Mexico, (by invitation), October 1985.

Mills, M.J. and Klein, J. Forcnsic Updatc. Presented at the American Psychiatric Association
37th Institute on Hospital and Community Psychiatry, Montreal, Quebec, Canada, (by invitation),
October 1985.

Lamb, H.R., Goldfinger, S. and Mills, M.J.. The problem of homelessness. Presented at the
Amcrican Psychiatric Association 37th Institute on Hospital and Community Psychiatry, Montre-
al, Canada, (by invitation), October 1985.

Mills, M.J. The prevention of psychiatric malpractice. Presented at the Sepulveda Veterans Ad-
ministration Medical Center, Sepulveda, California, (by invitation), November 1985.

Mills, M.J. Legal issues affecting the treatment of schizophrenia. Presented at CPC Walnut
Creck Hospital, Walnut Creck, California, (by invitation), December 1985.

Mills, M.J. Managing the violent patient: clinical and legal perspectives. Presented at Thallians
Mental Health Center (Cedars-Sinai Medical Center), Los Angeles, California, (by invitation),
January 1986.

Mills, M.J. How psychotherapists can avoid malpractice litigation. Presented at El Centro Men-
tal Health Center, East Los Angeles, California, (by invitation), February 1986.

Mills, M.J. Avoiding psychothcrapcutic malpractice while protecting threatened third parties.
Presentcd at the Sheppard Pratt Hospital, Baltimore, Maryland, (by invitation), March 1986.

Mills, M.J. The clinical management of the violent and potentially-violent patient. Presented at
the University Extcnsion Program (Dangcrousncss: Legal and Clinical Aspects), Irvine, Califor-
nia, (by invitation), March 1986.

Milis, M.J. Legal and ethical issues in psychiatric treatment. Presented at Woodview-Calabasas
Hospital, Calabasas, California, (by invitation), March 1986.

Mills, M.J. Interviewing in spccial circumstanccs: the Tarasoff problem. Prescnted at the Amer-
ican Psychiatric Association Annual Meeting, Washington, DC, May 1986.

Roth, L.H., Appelbaum, P.S., Bloom, J.D., Rada, R.T., and Mills, M.J. Legal psychiatry: update
and new issues, Presented at the American Psychiatric Association Annual Meeting, Washing-
ton, D.C., May 1986.

Hartman, N. and Mills, M.J. Legal/ethical issues in psychopharmacologic research. Presented at
the International Conference on Mental Health and Technology, Vancouver, British Columbia,
Canada, June 1986.

Mills, M.J. Protecting third parties from the violent patient: recent developments in the United
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States. Presented at the Department of Psychiatry, University of Ottawa, Ontario, Canada, (by
invitation), June 1986.

Mills, M.J. Roundtable discussion of forensic psychiatry. Presented at the | lcalthways Commu-
nications Conference, Keystone, Colorado, (by invitation), July 1986.

Mills, M.J. Insanity: an expert's view. Presented to the Los Angeles County Public Defenders,
Los Angeles, California, (by invitation) August 1986.

Mills, M.J. American deinstitutionalization: a critical appraisal. Presented at the First Pacific
Regional Congress on Law and Mental Health (The Australian Institute of Criminology), Canber-
ra, Australian Capital Territory, Australia, (by invitation), August 1986.

Miils, M.J. Evolution of the right to refuse treatment in the United States. Presented at the First
Pacific Regional Congress on Law and Mental Health (The Australian Institute of Criminology),
Canberra, Australian Capital Territory, Australia, (by invitation), August 1986.

Beliveau, L. and Mills, M.J. New ethical issue: the rationalization of professional resources
based on the effectiveness of treatment for psychiatric patients in security institutions. Presented
at the International Conference on Health Law and Ethics (American Society of Law and Medi-
cine), Sydney, New South Wales, Australia, (by invitation), August 1986.

Mills, M.J. The politics of deinstitutionalization in the United States. Presented at the Inter-
national Conference on Health Law and Ethics (Amcrican Socicty of Law and Mcdicine), Syd-
ney, New South Walcs, Australia, (by invitation), August 1986.

Mills, M.J. The right to refuse treatment: developments in American law. Presented at the In-
ternational Conference on Health Law and Ethics (American Society of Law and Medicine), Syd-
ney, New South Wales, Australia, (by invitation), August 1986.

Mills, M.J. The evolution of the Tarasoff doctrine: protecting third parties from the violent acts
of patients. Presented at The Northside Clinic, Greenwich, New South Wales, Australia, (by invi-
tation), August 1986.

Mills, M.J. Current United States trends in the delivery of public mental health services. Pre-
sented to the New South Wales Branch of the Australian College of Psychiatry, Sydney, New
South Wales, Australia, (by invitation), August 1986.

Mills, M.J. The right to refuse treatment in the institutional setting. Presented to Atascadero
State Hospital, Atascadero, California, (by invitation), October 1986.

Mills, M.J. Maintenance treatment in psychosis: New trends (legal developments). Presented to
Prinecton American Communication Company, Princeton, New Jersey (video presentation by in-
vitation), October 1986.

Mills, M.J. The violent patient: legal and public policy perspectives. Presented to the Depart-
ment of Psychiatry and Behavioral Sciences, The University of Texas Medical/Branch at Galves-
ton, Galveston, Texas, (by invitation), November 1986.

Mills, M.J. Legal developments affecting the delivery of public mental health services. Pre-
sented to the Department of Psychiatry, Hahnemann Medical School, Philadelphia, Pennsylvania,
(by invitation), November 1986,

Mills, M.J. Strategies of dealing with threatening and potentially violent patients. Presented to
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the Department of Psychiatry, Health Scicnce Center, University of Oregon, Portland, Oregon,
(by invitation), November 1986.

Mills, M.J. Avoiding psychiatric malpractice: perspectives in irony. Presented at the Vcterans
Administration Medical Center, Psychiatric Service Case Conference, Scuttle, Washington, (by
invitalion), November 1986.

Mills, M.J. Avoiding psychiatric malpractice. Presented to the Department of Psychiatry, Thali-
ans Mental Health Centcr, Cedars-Sinai Medical Center, Los Angeles, California, (by invitation),
November 1986.

Mills, M.J. Mental health Icgal reform, or do the issues ever change: libertarianism versus pater-
nalism. Presented at the 7 Annual Congress of the Australian and New Zealand Association of
Psychiatry, Psychology and Law, Newman College, Melbourne, Victoria, Australia, (by invita-
tion), November 1986.

Mills, M.J. Malpractice and legal reform in psychiatry. Presented to the Department of Psychia-
try and the Behavioral Sciences, University of Southern California, Los Angeles, California, (by
invitation), December 1986.

Mills, M.J. Anxiety: quest for improved therapy. Presented to the Los Angeles audience of the
Mead Johnson Television Seminar, Los Angeles, California, (by invitation), January 1987.

Mills, M.J. Avoidance of psychiatric malpractice. Prescntcd to Atascadcro Statc Hospital, Atas-
cadero, California, (by invitation) April 1987.

Mills, M.J. Some obscrvations on the right to refuse treatment. Prescntcd to the New York State
Office of Mental Health, Office of Counsel, Lake George, NY, (by invitation) April 1987.

Mills, M.J. Legal ramifications of extrapyramidal symptoms. Presented at the 140th Annual
Meeting of the American Psychiatric Association, Chicago, Illinois, (by invitation) May 1987.

Mills, M.J. Psychotropic therapy: the issue of drug-induced impairment (potential Icgal implica-
tions). Presented at the 140th Annual Meeting of the American Psychiatric Association, Chicago,
Illinois, (by invitation) May 1987.

Mills, M.J. Controversies in law and psychiatry: update (the duty to protect). Presented at the
140th Annual Meeting of the American Psychiatric Association, Chicago, Illinois, May 1987.

Mills, M.J. Inpatient management of the aggressive patient: some legal aspects. Presented at the
140th Annual Meeting of the American Psychiatric Association, Chicago, Hlinois, May 1987.

Mills, M.J. Preventing psychiatric malpractice: practitioncrs' dilemmas for the eighties. Present-
ed at the Southern California Psychiatric Society, Inland Region, Colton, California, (by invita-
tion) May 1987.

Mills, M.J. Ethics and legality of seclusion and restraint. Presented at Patton State Hospital, Pat-
ton, California, (by invitation) July 1987.

Mills, M.J. Unwillingness, non-compelence and antipsychotic medication. Presented at Napa
State Hospital, Napa, California, (by invitation) July 1987.

Mills, M.J. Psychiatric malpractice: new dilemmas posed by Tarasoff Presented at Northridge
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tlospital Medical Center, Northridge, California, (by invitation) September 1987.

Mills, MJ. he malpractice crisis: implications for treatment and liability. Prescnted at Vet
crans Administration llospital, Scpulveda, California, (by invitation) October 1987.

Mills, M.J. ‘Treatment for affective disorders: an updatc on legal complications. Presented at
Ochsner Clinic, New Orleans, Louisiana, (by invilation) November 1987.

Mills, M.J. Psychiatric malpractice: how to stay out of the courtroom. Presented al Veterans
Administration Mcdical Center, Palo Alto, California (by invitation) November 1987.

Mills, M.J. The paticnt’s record: information appropriate for “cupracticc”. Prescnicd at Cedars
Sinai Mcdical Center, Los Angeles, California (by invitation) November 1987.

Mills, M.J. Recent legal developments in psychiatric practice. Presented at Woodview-
Calabasas Hospital, Calabasas, California (by invitation) January 1988.

Mills, M.J. Confidentiality and privileged communication. Presented at Patton State Hospital,
Patton, California (by invilation) February 1988.

Mills, M.J. Forensic aspects of psychopharmacology. Presented at The Southern California Psy-
chiatric Society, Los Angeles, California (by invitation) February 1988.

Milts, M.J. Avoiding psychiatric malpractice: rcfining the physician-paticnt rofc. Prescnted at
the University of Cincinnati, Cincinnati, Ohio (by invitation) March 1988.

Mills, M.J. Legal developments in psychiatric practice. Presented at the University of Texas,
Houston, Texas (by invitation) April 1988.

Mills, M.J. Avoiding psychiatric malpractice. Presented at the University of California Davis
Medical Center, Sacramento, California (by invitation) April 1988.

Mills, M.J. A comprehensive review of the laws regulating psychotherapists: an emphasis on
cmcrging situations. Prcescnted at the Washington Association of County Designated Mental
Health Professionals, Olympia, Washington (by invitation) April 1988.

Mills, M.J. Privacy, confidentiality and privileged communication: ongoing dilemmas for the
psychotherapist. Presented at Atascadero State Hospital, Atascadero, California (by invitation)
April 1988.

Mills, M.J, Management of the aggressive patient: some legal aspects. Presented at the 14st
Annual Meeting of the American Psychiatric Association, Montreal, Quebec, Canada, May 1988.

Bear, D.M., Pollock, D.C., Ervin, F.R. and Mills, M.J. Neuropsychiatric perspective on human
ageression. Presented at the 14I1st Annual Meeting of the American Psychiatric Association,
Montreal, Canada, May 1988.

Pollock, D.C., Bear, D.M., Ervin, F.R. and Mills, M.J. Evaluating aggression. Presented at the
141st Annual Meeting of the Amcrican Psychiatric Association, Montreal, Canada, May 1988.

Ervin, F.R.; Bear, D.M.; Pollock, D.C, and Mills, M.J. Pathological aggression. Presented at the
141st Annual Mceting of the American Psychiatric Association, Montreal, Canada, May 1988.

Millis, M.J. National trends in mental health law. Presented al Metropolitan State Hospital, Nor-
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walk, California (by invilation) May 1988.

Mills, MJ. “Malpractice-proofing" the medical record: problems for the 1990's. Presented al
Southcrn California Edison Corporation, Rosemead, California (by invilation) May 1988.

Mills, M.J. Legal and ethical pitfalls in primary-care psychiatric counseling. Presented at South-
erm California Edison Corporation, Rosemead, California (by invitation) May 1988.

Mills, M.J. Evolving legal issues in psychiatric practice. Presented at the Oakwood Hospital,
Dearborn, Michigan (by invitation) June 1988,

Mills, M.J. tnnovalive ways of avoiding mcdical malpractice suils. Prescnied at the Vallcy
Community Hospital, Santa Maria, California (by invitation) June 1988.

Mills, M.J. Psychopharmacologic treatment: legal regulations, liability and abuse. Presented at
Advancement in Neurosciences: Psychopharmacology update, sponsored by the Association for
the Advancement in Neuroscienccs, Rome, italy (by invitation) Scptember 1988.

Mills, M.J. Avoiding medical malpractice: strategies and tactics. Presented at the Centinela
Hospital Medical Center, Inglewood, California (by invitation) October 1988.

Mills, M.J. Immunity, disease and civil liability. Presented at the 19th Annual Meeting of the
American Academy of Psychiatry and the Law, San Francisco, California October 1988.

Mills, MJ. Medical/icgal problems in handling Icgal psychiatric cases. Prescntcd at the Truck
Insurance Exchange and California Hospitals Medical Malpractice Seminar, Los Angeles, Cali-
fornia (by invitation) November 1988.

Mills, M.J. Strategies for avoiding psychiatric malpractice. Presented at the Langley Porter Psy-
chiatric Institute, San Francisco, California (by invitation) November 1988.

Mills, M.J. Legal issues in psychiatry: avoiding malpractice. Presented at Fair Oaks Hospital,
Summit, New Jerscy and at Clinton Inn, Tenafly, New Jerscy (by invitation) November 1988.

Mills, M.J. Adolescent civil commitment: issues in controversy. Presented at The Regent Hos-
pital, New York, NY (by invitation) November 1988,

Mills, M.J. The theory and practice of “eupractice": does malpractice litigation make for better
patient care? Presented at the Humana Hospital, Las Vegas, Nevada (by invitation) December
1988.

Mills, M.J. Ethical issues in the practice of psychopharmacology. Presented at the Benjamin
Rush Socicty Annual Mccting, Baja California, Mcxico (by invitation) January 1989.

Mills, M.J. Clinicolegal issues in the prevention of medical malpractice. Presented at Canyon
View Hospital, Twin Falls, Idaho (by invitation) January 1989.

Mills, M.J. The legal use of medical experts: their selection and preparation. Presented at The
Magic Valley Bar Association, Twin Falls, Idaho (by invitation) January 1989.

Mills, M.J. Legal aspects of psychopharmacologic intervention: neuroleptics, antidepressants
and anxiolytics. Presented at the St. Alphonsus Hospital, Boisc, Idaho (by invitation) January
1989.
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175. Mills, M.J. Tarasoff dutics: prediction of dangcrousness in release of mental patients. Presented
at Atascadcro State Ilospital, Atascadero, California (by invitation) March 1989.

176. Mills, M.J. Informed consent and the usc of psychotropic medication. Presented at Menninger
Clinic, Topcka, Kansas (by invitation) April 1989.

177. Mills, M.J. ‘Vardive dyskinesia, neuroleptics, and informed consent. Presented al Menninger
Clinic, Topcka, Kansas (by invitation) April 1989.

178. Mills, M.J. Stigma of ECT: Icgal perspectives. Presented at the 142nd Annual Meeting of the
Amcrican Psychiatric Association, San Francisco, California (by invitation) May 1989.

179. Mills, M.J. Psychiatry and the law: have the last three decades of legal regulation been produc-
tive? Presented al the UCLA Neuropsychiatric Institute, Los Angeles, California (by invitation)
May 1989.

180. Mills, M.J. Ethical dilemmas in forcnsic psychiatry. Prescntcd at Atascadcro State Hospital,
Atascadero, California (by invitation) May 1989.

181. Mills, M.J. Controversial issues in psychiatric administration. Presented at Metropolitan State
Hospital, Norwatk, California (by invilation) May 1989.

182. Mills, M.J. Issues in psychiatric malpractice. Presented at Harbor Hospital, Los Angeles, Cali-
fornia (by invitation) Junc 1989.

183. Mills, M.J. Current themes in psychiatric malpractice litigation. Presented at Metropolitan State
Hospital, Norwalk, California (by invitation) June 1989.

184. Mills, M.J. Implementing informed consent criteria for the hospitalized chronically mentally ill.
Presented at the Department of Mental Health and Mental Retardation, Nashville, Tennessee (by
invitation) June 1989.

185. Mills, M.J. Insanity: Do we necd it? Presented at Atascadero State Hospital, Atascadero, Cali-
fornia (by invitation) Junc 1989.

186. Mills, M.J. Legal developments affecting patient care. Presented at Olive View Medical Center,
Sylmar, California (by invitation) June 1989.

187. Mills, M.J. The legal issues affecting psychiatric patients' assault. Presented at Napa State Hospi-
tal, Napa, California (by invitation) Septernber 1989.

188. Mills, M.J. Tort law and malpractice. Presented at Atascadero State Hospital, Atascadero, Cali-
fornia (by invitation) December 1989.

189. Mills, MJ. The future of forensic mental health services. Presented at Mayhem, Madness and
Mental Health, San Luis Obispo, California (by invitation) April 1990.

190. Mills, M.J. The role of the nuclear utility medical review officer: issue of drug testing in the
workplace. Presented at the Nuclear Management and Resources Council Meeting, Detroit.
Michigan (by invitation) September 1990.

191. Mills, MJ. The role of the nuclear utility medical review officer: practical issues for physicians

Presented at Healthcare Centers for Business in Industry, Phoenix, Arizona (by invitation) Octo
ber 1990.
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Mills, M.J. The devil made mc do it: some thoughts on the role of mental illness in violent
crime. Prescnted at Plexis Il: ‘The Neurobiology of Aggression (Healthcare Rehabilitation Cen-
ter), Austin, Texas (by invitation) November 1990.

Jackman, J.A., Mills, M.J. and Wells, S.H. Medical/legal aspects of mental illness. Presented at
the Whittier Bar Association, Whiltier, California (by invitation) November 1991.

Mills, M.J. The theory and practice of defending psychological injury in tort claims: the evalua-
tion and implications of Post-Traumatic Stress Disorder (PTSD). Presented at the Torts Branch,
Civil Division, United Statcs Department of Justicc, Washington, D.C. (by invitation) June 1992.

Mills, M.J. Substance abuse and stress management in the legal profession. Presented at the Cal-
ifornia District Attorney's Association Annual Meeting, South Lake Tahoe, California (by invita-
tion) June 1992.

Mills, M.J. The politics of the right to refusc treatment. Presented at the Fifteenth Annual Scicn-
lific Meeting of the International Sociely of Political Psychology, San Francisco, California (by
invitation) July 1992.

Mills, M.J. Malpractice risk reduction. Presented at the Southern California Edison Health Care
CME Offsite, Pomona, California (by invitation) January 1993.

Mills, M.J. Legal issues in medicine. Prescnted in conjunction with the course, "The Anthropol-
ogy of Medicinc" to the University of California School of Mcdicine, La Jolla, California (by in-
vitation) February 1993.

Mills, M.J. Psychiatric dangcrousncss and civil commitment critcria. Prescnted at the MCLE
Seminar, Rushfeldt, Shelley & Drake, Sherman Oaks, California (by invitation) March 1993.

Mills, M.J. and Rosenberg, J.E. Is it proper to sue and prosecute psychiatric patients for assault?
Presented to the American Academy of Psychiatry and the Law, 25th Annual Meeting, Maui,
Hawaii (by invitation) October 1994.

Mills, M.J. Is there a link between mental illness and dangerousness? Presented at the UCSD
Department of Psychiatry Conference Seminar titled “Breakthroughs in Psychiatry and the Law:
Dealing with Dangcrousncss in the 90’s,” San Dicgo, California (by invitation) February 1995.

Ornish, S.A., Mills, M.J., Humphrey, J., Matthews, D. and Pippin, J.D. Ethics, law and prear-
raignment evaluations. Presented to the American Academy of Psychiatry and the Law, 28th An-
nual Meeting, Denver, Colorado (by invitation) October 1997,

Mills, M.J. Psychiatric issues in nursing home care. Prescnted at A.1. Healthcare, New York,
New York, April 1999.

Mills, M.J. Current topics in forensic psychiatry. Presented at Grand Rounds for Howard Uni-
versity Department of Psychiatry, Washington, D.C., (by invitation) November 2000.

Mills, M.J. Psychiatric issucs in criminal prosecution. Presented to the United States Attorney,
Central District (Florida), Tampa, Florida, (by invitation) December 2000.

Mills, M.J. Effectiveness of ECT combined with Risperidone against aggression in schizophre
nia. Presented at Elgin Mental Health Center, Elgin, Illinois, (by invitation) October 2001.
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Mills, M.J. Recent topics and developments in forcnsic psychiatry. Presented at Elgin Mental
Icalth Center, Elgin, illinois, (by invitation) October 2001.

Mills, M.J. How to testify as an expert witness in court and before other formal tribunals. Pre-
sented at the Annual Meeting of the American Rehabilitation Economics Association (AREA),
Reno, Nevada, (by invitation) May 2002.

Mills, M.J. Assessing the truthfulness of children’s allegations of abusc: some psychiatric pcr-
spectives. Presented at the Annual Mecting of the State Bar of Michigan Children’s Law Section,
Mt. Pleasant, Michigan, (by invilation) May 2005.

Mills, M.J. Casc examplcs of sexual predators: arc the treatments sufficient and/or is civil com-
mitment appropriate? Presented at the Annual Meeting of the State Bar of Michigan Children’s
Law Section, Mt. Pleasant, Michigan, (by invitation) May 2005.

Mills, M.J. A psychiatric overview of some issues useful in considering children’s allegations of
abusc and scxual abusc. Prescntcd at the XXIX" Annual Congress on Law and Mental Health,
sponsored by the International Academy of Law and Mental Health, Paris, France, (by invitation)
July 2005.

Mills, M.J. Charles McCoy: Psychiatric, Legal and Ethical Perspectives on the Ohio Freeway
Shootings. Presented at the Use of Forensic Evidence at Trial (Douglas W. Squires, Director),
Capital University Law School, Columbus, Ohio, (by invitation) September 2005.

Mills, M.J. Psychiatry and the Law. Prescnted at thc Use of Forensic Evidence at Trial (Douglas
W. Squires, Director), Capital University Law School, Columbus, Ohio, (by invitation) October,
2006.

Mills, M.J. and Grotberg, E. Forensic psychiatric evaluations as therapy? Presented at the Inter-
national Academy of Law and Mental Health, Padua, Italy, (by invitation), June, 2007,

Mills, M.J. (as a panelist with others). Stranger in a Strange Land: Cross-Cultural Issues in the
Courts. Presented at the American Bar Association Midyear Meeting, Judicial Division, Los An-
gclcs, California, (by invitation), February, 2008.

Mills, M.J. Forensic Psychiatry as an Exemplar of Psychiatry. Presented as the Jonathan D. Bro-
die Award lecture, New York University School of Medicine, New York New York, (by invita-
tion), April, 2008.

Mills, M.J. (as a panelist with others). How Judges Think: Rule of Law or Rule of Man? Pre-
sented at the American Bar Association Annual Meeting, Judicial Division, New York, New
York (by invitation), August, 2008.

Mills, M.J. (as a panelist with others). When in Rome? Cross-Cultural Issues in the Courts.
Presented at the American Bar Association Annual Meeting, Judicial Division, New
York, New York, (by invitation), August, 2008.
